Case:24-00062-LTS Doc#:49 Filed:09/25/24 Entered:09/25/24 23:41:02                                      Desc: Main
                         Document Page 1 of 11



                                UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF PUERTO RICO


    In re:
                                                                                  PROMESA
    THE FINANCIAL OVERSIGHT AND MANAGEMENT                                        Title III
    BOARD FOR PUERTO RICO,
                                                                                  No. 17 BK 3283-LTS
              as representative of                                                (Jointly Administered)

    THE COMMONWEALTH OF PUERTO RICO, et al.,

    Debtor.1

    In re:
                                                                                  PROMESA
    THE FINANCIAL OVERSIGHT AND MANAGEMENT                                        Title III
    BOARD FOR PUERTO RICO,
                                                                                  No. 17 BK 4780-LTS
              as representative of                                                (Jointly Administered)

    PUERTO RICO ELECTRIC POWER AUTHORITY,

    Debtor.




1
  The Debtors in these Title III Cases, along with each Debtor’s respective Title III case number and the last four (4)
digits of each Debtor’s federal tax identification number, as applicable, are the (i) Commonwealth of Puerto Rico (the
“Commonwealth”) (Bankruptcy Case No. 17-BK-3283-LTS) (Last Four Digits of Federal Tax ID: 3481); (ii) Puerto
Rico Sales Tax Financing Corporation (“COFINA”) (Bankruptcy Case No. 17-BK-3284-LTS) (Last Four Digits of
Federal Tax ID: 8474); (iii) Puerto Rico Highways and Transportation Authority (“HTA”) (Bankruptcy Case No. 17-
BK3567-LTS) (Last Four Digits of Federal Tax ID: 3808); (iv) Employees Retirement System of the Government of
the Commonwealth of Puerto Rico (“ERS”) (Bankruptcy Case No. 17-BK-3566- LTS) (Last Four Digits of Federal
Tax ID: 9686); (v) Puerto Rico Electric Power Authority (“PREPA”) (Bankruptcy Case No. 17-BK-4780-LTS) (Last
Four Digits of Federal Tax ID: 3747); and (vi) Puerto Rico Public Buildings Authority (“PBA”) (Bankruptcy Case
No. 19-BK-5523-LTS) (Last Four Digits of Federal Tax ID: 3801) (Title III case numbers are listed as Bankruptcy
Case numbers due to software limitations).
Case:24-00062-LTS Doc#:49 Filed:09/25/24 Entered:09/25/24 23:41:02              Desc: Main
                         Document Page 2 of 11



 THE FINANCIAL OVERSIGHT AND MANAGEMENT
 BOARD FOR PUERTO RICO,
                                                                 Adv. Proc. No. 24-00062-LTS
        Plaintiff-Movant,

 v.

 HON. PEDRO PIERLUISI, in his official capacity as
 Governor of Puerto Rico; and HON. JOSE LUIS DALMAU,
 in his official capacity as President of the Senate of Puerto
 Rico.

                       Defendants-Respondents.

   DECLARATION OF ROBERT F. MUJICA, JR. IN SUPPORT OF FINANCIAL
 OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO’S MOTION FOR
      SUMMARY JUDGMENT PURSUANT TO BANKRUPTCY RULE 7056
Case:24-00062-LTS Doc#:49 Filed:09/25/24 Entered:09/25/24 23:41:02                     Desc: Main
                         Document Page 3 of 11



I, Robert F. Mujica, Jr., hereby declare:

       1.       I am the Executive Director of the Financial Oversight and Management Board

for Puerto Rico (the “Oversight Board”). I submit this Declaration based on personal knowledge,

except where otherwise indicated, in respect of the Oversight Board’s Complaint in the above-

captioned adversary proceeding.

                            PREPA AND THE ENERGY BUREAU

       2.       The Puerto Rico Electric Power Authority (“PREPA”) is the sole electric utility

provider for Puerto Rico.

       3.       PREPA is plagued by serious financial and operational difficulties, resulting in a

poorly functioning electrical system that fails to serve adequately the people of Puerto Rico and

impedes the recovery of Puerto Rico’s economy. PREPA’s customers pay substantially more for

electricity than the average ratepayer in the mainland United States and they experience many

more service interruptions than the median stateside customer.

       4.       The Oversight Board recognizes that Puerto Rico’s economic recovery depends

on a comprehensive transformation of its energy sector to deliver the safe, reliable, and affordable

service that Puerto Rico’s residents and businesses deserve. Accordingly, one of the Oversight

Board’s key priorities is comprehensive energy sector reform to enable a successful transformation

of PREPA.

       5.       PREPA was designated by the Oversight Board as a covered territorial

instrumentality pursuant to PROMESA § 101(d). A true and correct copy of a document

memorializing the Oversight Board’s designation of PREPA as a covered territorial

instrumentality is attached hereto as Exhibit 1.

       6.       The Oversight Board certified the most recent fiscal plan for PREPA on June 23,

2023 (the “PREPA Fiscal Plan”), a true and correct copy of which is attached hereto as Exhibit 2.


                                                   3
Case:24-00062-LTS Doc#:49 Filed:09/25/24 Entered:09/25/24 23:41:02                       Desc: Main
                         Document Page 4 of 11



        7.       The PREPA Fiscal Plan details PREPA’s current challenges, the impact those

issues have on the people of Puerto Rico and the Island’s economy, and focuses on the

rehabilitation of both PREPA’s financial position and its operations.

        8.       As the PREPA Fiscal Plan notes, many of PREPA’s challenges are due to the fact

that decisions about the management of the Puerto Rican grid have historically been subject to

political influence and instability, leading to high management turnover, discontinuity in capital

investment plans, electric customer rates that were insufficient to cover operating and maintenance

costs, and the mounting costs of debt service. PREPA’s politicized decision-making resulted in it

issuing more debt to cover current debt service rather than setting rates at a level sufficiently high

to support its costs, operating under a fiscal deficit since the early 2000s, and historically

underinvesting in its electrical grid, resulting in reliability metrics drastically lower than other

electric utilities in the United States.

        9.       Accordingly, the Oversight Board’s fiscal plans for the Commonwealth and

PREPA have recognized the importance of PREPA being regulated by an independent,

professional, regulator insulated from political interference, and mandate that the work of that

regulator, the Puerto Rico Energy Bureau (the “Energy Bureau”), be free from any political

influence or interference. True and correct copies of the 2019 PREPA Fiscal Plan, the 2020

PREPA Fiscal Plan, the October 2018 Commonwealth Fiscal Plan, the 2021 Commonwealth

Fiscal Plan, the 2023 Commonwealth Fiscal Plan, and the 2024 Commonwealth Fiscal Plan are

attached hereto as Exhibits 3 through 8.

                                           NET METERING

        10.      PREPA’s net metering program provides a method for customers who generate

their own electricity to export their excess electricity to PREPA. Currently, the electricity those




                                                 4
Case:24-00062-LTS Doc#:49 Filed:09/25/24 Entered:09/25/24 23:41:02                        Desc: Main
                         Document Page 5 of 11



customers export to PREPA offsets on a one-to-one basis the electricity they consume from

PREPA. Customers who export the same or more electricity to the grid than they consume from

PREPA are charged only PREPA’s monthly service fee; in other words, their consumption or

volumetric charges are zero. The structure of the current net metering program has been in place

since 2007. Net metering has many positive effects, including reducing pollutants and greenhouse

gases emitted from PREPA’s fossil fuel based generating units, as well as positive contributions

to the achievement of Puerto Rico’s renewable energy goals. However, if not calibrated correctly,

a net metering system could create greater inequality among customers. For example, it could lead

to significant costs shifts, where non-net metering customers (who may not have the funds to obtain

solar panels or live in structures such as multiunit dwellings or urban areas that are not conducive

to solar energy generation) essentially subsidize the costs of a utility’s fixed costs for net metering

users. Further, because the cost of energy transmission is recouped by PREPA’s volumetric (i.e.,

usage) charges, those charges are borne disproportionately by non-net metering customers because

net metering customers’ volumetric charges are discounted by the energy they expert to the system.

With these complicated and competing considerations, determining whether to maintain or modify

Puerto Rico’s current net metering program involves balancing many important, complex financial

and policy factors. It is important that the Energy Bureau assess all of these factors and adjust, as

necessary, the program to ensure it is structured optimally for PREPA’s operations and fiscal

health.

          11.    Pursuant to Act 17-2019 (“Act 17”), the Energy Bureau was required to study

PREPA’s net metering program and was empowered to make changes to that program beginning

on April 11, 2024.

          12.    The PREPA Fiscal Plan recognizes the importance of this study and for the Energy




                                                  5
Case:24-00062-LTS Doc#:49 Filed:09/25/24 Entered:09/25/24 23:41:02                  Desc: Main
                         Document Page 6 of 11



Bureau to implement changes to the net metering program it deems appropriate, if any.

Accordingly, the PREPA Fiscal Plan required the Energy Bureau to finalize the Act 17 net

metering and distributed generation study, by June 30, 2023 and make changes to the crediting

structure it deems appropriate, if any, by April 11, 2024.

       13.      The Energy Bureau began work to prepare the Act 17 study in 2023, including

engaging a consultant.

       14.      A draft of the study was completed in June 2024. The Energy Bureau authorized

the study’s publication on June 14, 2024; however, the Energy Bureau did not publish the study

pursuant to Act 114, as amended by Act 17—because Act 10, enacted earlier that year, prohibited

commencing that study until January 2030—and instead published it pursuant to its “broad

delegated powers and duties” under Act 57-2014. A true and correct copy of the Draft Study and

the Spanish-language Energy Bureau resolution authorizing its publication are attached hereto as

Exhibit 9.

                                          ACT 10-2024

       15.      On February 12, 2024, the Oversight Board received a submission (the

“Submission”) on behalf of the Governor regarding Act 10, which consisted of: (i) a Spanish-

language copy of Act 10; (ii) a document titled “Section 204(a) Certification, Act 10-2024,

Enacted on January 10, 2024” prepared by the Puerto Rico Fiscal Agency and Financial Advisory

Authority (“AAFAF,” by its Spanish acronym) (the “AAFAF Certification”); (iii) Attachment A

to the AAFAF Certification (the “OMB Attachment”) prepared in Spanish by the Puerto Rico

Office of Management and Budget (“OMB”); and (iv) Attachment B to the AAFAF Certification

(the “Treasury Attachment”) prepared in Spanish by the Puerto Rico Department of Treasury

(“Treasury Department”). True and correct copies of these documents are attached hereto as




                                                6
Case:24-00062-LTS Doc#:49 Filed:09/25/24 Entered:09/25/24 23:41:02                      Desc: Main
                         Document Page 7 of 11



Exhibits 10 through 13.

       16.      In a letter dated June 16, 2023, AAFAF confirmed to the Oversight Board that,

per the terms of Executive Order 2019-057 (the “Executive Order”), it does not conduct formal

estimates for PROMESA § 204(a) purposes, stating that “Treasury and OMB conduct the cost

estimate analysis because those entities (not AAFAF) have the best information and expertise to

determine a new law’s effects on Government expenditures and revenues.” A true and correct

copy of the June 16, 2023 Letter is attached hereto as Exhibit 14.

       17.      The Oversight Board reviewed the Submission and found that it failed to meet the

requirements of PROMESA § 204(a).

       18.      In a letter dated April 10, 2024, the Oversight Board provided AAFAF, the

Governor, and the Legislature with its assessment of the Submission and, pursuant to PROMESA

§ 204(a)(3)(A–B), a notification that the Governor had not provided the required formal estimate

and certification. A true and correct copy of the April 10, 2024 Letter is attached hereto as Exhibit

15.

       19.      In that letter, pursuant to PROMESA § 204(a)(4)(A), the Oversight Board directed

the Governor to submit a revised submission, including a formal estimate and a certification in

compliance with the requirements of PROMESA § 204(a)(2), by April 19, 2024. The Oversight

Board also requested confirmation by April 15, 2024, that the Government would repeal or amend

Act 10 and further requested a “concrete plan and timeline for doing so.”

       20.      AAFAF responded to the Oversight Board’s April 10, 2024 letter in a letter dated

April 15, 2024. In that letter, AAFAF stated it would “assess[] any potential changes to the

[Section] 204 Submission, or to Act 10, (if any) that may be warranted in order to implement [Act

10] in a manner not significantly inconsistent with PREPA’s Certified Fiscal Plan” and requested




                                                 7
Case:24-00062-LTS Doc#:49 Filed:09/25/24 Entered:09/25/24 23:41:02                      Desc: Main
                         Document Page 8 of 11



the Oversight Board “provide” an unspecified amount of “additional time” to conduct its

assessment. A true and correct copy of AAFAF’s April 15, 2024 letter is attached hereto as Exhibit

16.

          21.    The Oversight Board responded to AAFAF’s April 15, 2024 letter in a letter dated

May 2, 2024, in which it, among other things, reiterated its concerns and noted that AAFAF’s

letter did not “resolve the issues raised by the Oversight Board” regarding Act 10. In that letter,

the Oversight Board requested the Governor “take immediate action and work with the

[Legislature] to repeal or amend Act 10 to restore [the Energy Bureau’s] full statutory oversight

over Puerto Rico’s energy system.” The Oversight Board requested that such “legislation to repeal

or amend” the provisions of Act 10 “be introduced in the Legislature no later than May 7, 2024”—

the last day to introduce legislation for consideration in the then-current legislative session—“and

enacted no later than June 30, 2024” to “restore [the Energy Bureau’s] full statutory oversight over

Puerto Rico’s energy system.” The Oversight Board offered to “work with” the Government to

“ensure the issues with Act 10 are fully resolved.” A true and correct copy of the May 2, 2024

letter is attached hereto as Exhibit 17.

          22.    In a letter dated May 7, 2024, AAFAF responded to the Oversight Board,

requesting that the Legislature be given “additional time within the current legislative session that

ends on June 30, [2024] to consider the Oversight Board’s objections, engage in discussions and

address potential amendments to Act 10 through the legislative process” and “gather industry

feedback” in order to make an “informed decision regarding Act 10.” A true and correct copy of

AAFAF’s May 7, 2024 Letter is attached hereto as Exhibit 18.

          23.    As of September 25, 2024, no legislation has been passed repealing or amending

Act 10.




                                                 8
Case:24-00062-LTS Doc#:49 Filed:09/25/24 Entered:09/25/24 23:41:02                       Desc: Main
                         Document Page 9 of 11



       24.      As of September 25, 2024, the Governor has made no additional submissions

pursuant to PROMESA § 204(a) with regard to Act 10. Accordingly, he has failed to comply with

the Oversight Board’s direction, given on April 10, 2024 pursuant to PROMESA § 204(a)(4), to

provide a compliant formal estimate and certification for Act 10.

        THE OVERSIGHT BOARD’S PROMESA § 108(a)(2) DETERMINATIONS

       25.      After Act 10’s enactment, the Oversight Board and its advisors examined the law.

       26.      On April 5, 2024, based on its review and analysis, the Oversight Board

determined Act 10 impairs or defeats PROMESA’s purposes of achieving fiscal responsibility and

access to capital markets for multiple independent reasons. A true and correct copy of the

Oversight Board’s April 5, 2024 Resolution (the “April Resolution”) is attached hereto as Exhibit

19.

       27.      The Oversight Board informed the Governor, Senate President, and Speaker of the

House of Representatives of its April 5, 2024 determination and concerns regarding Act 10 in a

letter dated April 8, 2024. A true and correct copy of that letter is attached hereto as Exhibit 20.

       28.      The Oversight Board issued a corrected version of its April 8, 2024

correspondence on April 10, 2024, adding additional detail regarding Act 10’s inconsistency with

the PREPA and Commonwealth Fiscal Plans and providing the Governor more time to respond.

       29.      On June 5, 2024, the Oversight Board certified the 2024 Commonwealth Fiscal

Plan. Ex. 8.

       30.      The 2024 Commonwealth Fiscal Plan includes similar provisions to the 2023

Commonwealth Fiscal Plan regarding the need for the Energy Bureau to operate independently

and without political interference.




                                                 9
Case:24-00062-LTS Doc#:49 Filed:09/25/24 Entered:09/25/24 23:41:02                   Desc: Main
                         Document Page 10 of 11



       31.      On June 21, 2024, the Oversight Board again determined that Act 10 impairs or

defeats the purposes of PROMESA for the same reasons set forth in the April Resolution but taking

into account the certification of the 2024 Commonwealth Fiscal Plan and the Governor’s violations

of PROMESA § 204(a), and memorialized its decision in a separate resolution approved that same

day (the “June Resolution”). A true and correct copy of the June Resolution is attached hereto as

Exhibit 21.




                                               10
Case:24-00062-LTS Doc#:49 Filed:09/25/24 Entered:09/25/24 23:41:02                    Desc: Main
                         Document Page 11 of 11



       I declare under penalty of perjury that the foregoing is true and correct.



Executed on: September 25, 2024 in San Juan, Puerto Rico.




                                                                   Robert F. Mujica, Jr.
